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                                       ATTACHMENT A
                                     Property to Be Searched


       This warrant applies to information associated with a residence located at 431 North

Marshall Avenue, Marshall, Michigan 49068 owned and occupied by Christopher Scott Tabaka.

The home is further described as a single-family, two-story house with an exterior composed of

blue siding with white trim around the windows. The front of the house has a front porch with

white pillars. The house has a paved driveway that enters from the street. The house has a metal

fenced in back yard. The roof is a shingle roof. There is an small outbuilding located at the rear

of rear of the fenced in property. I am requesting authority to search the entire premises,

including the residential dwelling and any outbuildings.
   Case 1:21-mj-00595-RSK ECF No. 1-2, PageID.7 Filed 11/02/21 Page 2 of 2




                                     ATTACHMENT A
                                    Person to Be Searched


       This warrant applies to information associated with the person of Christopher Scott

Tabaka. Tabaka is described as a white male, 6’00” tall and 190 pounds. Tabaka’s date of birth

is January 4, 1969, his social security number is XXX-XX-XXXX and his Michigan’s license number

is T120115760012.




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